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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

MICHAEL JONES,

        Plaintiff,
                                                      Case No. 20-cv-897-jdp
   v.

OFFICER MCKOWSKI, OFFICER
BOSWAR, WARDEN SUSAN NOVAK,
SECURITY DIRECTOR, WARDEN
LARRY FUCHS, PAMANDING SANNEH,
GWEN SCHULTZ, KEVIN W. PITZEN,
and CONCEPTA TERESA N. AMIMO,

        Defendants.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this

case.




        /s/                                              November 2, 2021
        Peter Oppeneer, Clerk of Court                        Date
